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                          UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11                                                     Case No. 15-md-2670-JLS-MDD
     IN RE: PACKAGED SEAFOOD
12   PRODUCTS ANTITRUST LITIGATION                      ORDER GRANTING JOINT
                                                        MOTION AND STIPULATION
13   THIS DOCUMENT RELATES TO:                          FOR DISMISSAL WITH
                                                        PREJUDICE AGAINST COSI
14   Winn-Dixie Stores, Inc. et al. v. Bumble           DEFENDANTS
     Bee Foods, LLC, et al., 3:16-cv-00017-
15   JLS-MDD                                            [ECF No. 2486]
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17         Presently before the Court is Joint Motion and Stipulation for Dismissal with
18   Prejudice Against COSI Defendants. (ECF No. 2486.) In the absence of any
19   objections and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the joint
20   motion is granted. Accordingly, all claims asserted by Winn-Dixie Stores, Inc. and
21   Bi-Lo Holdings, LLC against Tri-Union Seafoods LLC d/b/a Chicken of the Sea
22   International and Thai Union Group PCL are DISMISSED WITH PREJUDICE.
23   The parties shall bear their respective fees and costs.
24         IT IS SO ORDERED.
25   Dated: February 5, 2021
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                                                               Case No: 15-md-2670-JLS-MDD
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